946 F.2d 127
    292 U.S.App.D.C. 37
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Bernadette J. HALL, Appellant.
    No. 91-3048.
    United States Court of Appeals, District of Columbia Circuit.
    Oct. 21, 1991.
    
      Before HARRY T. EDWARDS, SILBERMAN and STEPHEN F. WILLIAMS, Circuit Judges.
    
    JUDGMENT
    PER CURIAM
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.   The court has determined that the issues presented occasion no need for a published opinion.   See D.C.Cir.Rule 14(c).   It is
    
    
      2
      ORDERED AND ADJUDGED that appellant's conviction be affirmed.   According to the police officers' testimony, which the district court found credible, Hall was not questioned in circumstances that would cause a reasonable person, innocent of wrongdoing, to feel she was not free to terminate the encounter.   Under governing precedent, therefore, no fourth amendment seizure occurred.   See United States v. Winston, 892 F.2d 112, 115-17 (D.C.Cir.1989), cert. denied, 110 S.Ct. 3277 (1990);   see also Florida v. Bostick, 111 S.Ct. 2382 (1991).   The district court's further determination that appellant voluntarily consented to the search of the luggage is similarly supported by the record.   Finally, there was sufficient evidence to convict appellant of possessing cocaine with intent to distribute.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir.Rule 15.
    
    